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                     IN THE UNITED STATES DISTRICT COURT


                   FOR THE SOUTHERN DISTRICT OF GEORGIA


                                 AUGUSTA DIVISION


ROBERT J. DEMELLO, JR.,

               Petitioner,

       v.                                       CV 114-043
                                                (Formerly CR 110-203)
UNITED STATES OF AMERICA,

               Respondent.


                                       ORDER



       After a careful, de novo review of the file, the Court concurs with the Magistrate

Judge's Report and Recommendation, to which objections have been filed (doc. no. 9).

Accordingly, the Court ADOPTS the Report and Recommendation of the Magistrate

Judge as its opinion, GRANTS Respondent's motion to dismiss (doc. no. 4), and

DISMISSES this case without an evidentiary hearing on Petitioner's motion filed

pursuant to 28 U.S.C. § 2255.

       Further, a federal prisoner must obtain a certificate of appealability ("COA")

before appealing the denial of his motion to vacate. This Court "must issue or deny a

certificate of appealability when it enters a final order adverse to the applicant." Rule

11(a) to the Rules Governing Section 2255 Proceedings. This Court should grant a COA

only if the prisoner makes a "substantial showing of the denial of a constitutional right."

28 U.S.C. § 2253(c)(2). For the reasons set forth in the Report and Recommendation,
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and in consideration of the standards enunciated in Slack v. McDanieL 529 U.S. 473,

482-84 (2000), Petitioner has failed to make the requisite showing. Accordingly, the

Court DENIES a COA in this case.' Moreover, because there are no non-frivolous issues

to raise on appeal, an appeal would not be taken in good faith. Accordingly, Petitioner is

not entitled to appeal informa pauperis. See 28 U.S.C. § 1915(a)(3).

       Upon the foregoing, the Court CLOSES this civil action and DIRECTS the

Clerk to enter final judgment in favor of Respondent.

       SO ORDERED this Qdayof Augnrtr



                                       HONORKBLE J. RANDAL HALL
                                       UNITED STATES DISTRICT JUDGE
                                               1ERN DISTRICT OF GEORGIA




        '"If the court denies a certificate, a party may not appeal the denial but may seek a
certificate from the court of appeals under Federal Rule of Appellate Procedure 22." Rule 11(a)
to the Rules Governing Section 2255 Proceedings.
